      Case 1:07-cr-00044-LG-JCG            Document 53        Filed 10/27/08      Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                     SOUTHERN DIVISION



UNITED STATES OF AMERICA

VERSUS                                               CRIMINAL ACTION NO. 1:07cr44WJG-JMR

EDMOND C. BROWN (1), a/k/a
NICKY, a/k/a Nikki; and
BRIAN KEITH GRAY(2)


                                             ORDER


        THIS CAUSE is before the Court on the motion [52] to dismiss property from forfeiture

filed by the United States of America [United States]. Upon review of the United States’ motion,

as well as the record in this matter, the subject property having been either forfeited

administratively, or disposed of through other court proceedings, the Court finds the motion of

the United States well taken and further finds the motion should be granted. It is therefore,

        ORDERED AND ADJUDGED that the United States’ motion [52] to dismiss certain

properties from forfeiture proceedings included in the indictment in this matter, be and is hereby,

granted. It is further,

        ORDERED AND ADJUDGED that the following described property be dismissed from

the forfeiture proceedings included in the criminal indictment in this cause:

        $21,000.00 in United States Currency (07-FBI-003896).

        One (1) vehicle: a 1994 Chevrolet Impala SS Sedan bearing VIN:
        1G1BN52P5RR149393 (07-FBI-003528)



                                              Page 1 of 2
Case 1:07-cr-00044-LG-JCG        Document 53      Filed 10/27/08     Page 2 of 2




 One (1) vehicle: a 1998 Ford Expedition Eddie Bauer Edition bearing VIN:
 1FMPU18L4WLA86570 (07-FBI-003529)

 SO ORDERED AND ADJUDGED, this the 27th day of October, 2008.




                                      UNITED STATES SENIOR DISTRICT JUDGE




                                    Page 2 of 2
